                                                                  Case 2:25-cv-00053-FMO-BFM                  Document 60-1       Filed 02/28/25   Page 1 of 2 Page ID
                                                                                                                    #:3194


                                                                     1   AARON J. MOSS (SBN 190625)
                                                                         AMoss@ggfirm.com
                                                                     2   JOSHUA M. GELLER (SBN 295412)
                                                                         JGeller@ggfirm.com
                                                                     3   ANDREW P. LUX (SBN 345915)
                                                                         GREENBERG GLUSKER FIELDS CLAMAN &
                                                                     4   MACHTINGER LLP
                                                                         2049 Century Park East, Suite 2600
                                                                     5   Los Angeles, California 90067
                                                                         Telephone: 310-553-3610
                                                                     6   Facsimile: 310-553-0687
                                                                     7   Attorneys for Defendant Riot Games, Inc.
                                                                     8
                                                                                                       UNITED STATES DISTRICT COURT
                                                                     9
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                    10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11
                                                                         MARC WOLSTENHOLME,                                         Case No. 2:25-cv-00053-FMO-BFM
                             2049 Century Park East, Suite 2600




                                                                    12
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                                                 Plaintiff,                         Hon. Fernando M. Olguin
                                                                    13
                                                                                  v.                                                DECLARATION OF ANDREW P.
                                                                    14                                                              LUX IN SUPPORT OF
                                                                         RIOT GAMES, INC.,                                          DEFENDANT RIOT GAMES,
                                                                    15                                                              INC.’s EX PARTE
                                                                                                 Defendant.                         APPLICATION FOR
                                                                    16                                                              EXTENSION OF TIME TO
                                                                                                                                    RESPOND TO PLAINTIFF’S
                                                                    17                                                              SECOND AMENDED
                                                                                                                                    COMPLAINT
                                                                    18
                                                                    19                                                              [Ex Parte Application for Extension
                                                                                                                                    of Time and [Proposed] Order filed
                                                                    20                                                              concurrently herewith]
                                                                    21
                                                                    22
                                                                    23
                                                                    24
                                                                    25
                                                                    26
                                                                    27
                                                                    28

                                                                         74677-00029/5436904.1
                                                                                                                              1               DECLARATION OF ANDREW P. LUX
                                                                  Case 2:25-cv-00053-FMO-BFM            Document 60-1         Filed 02/28/25   Page 2 of 2 Page ID
                                                                                                              #:3195


                                                                     1                             DECLARATION OF ANDREW P. LUX
                                                                     2            I, Andrew P. Lux, declare:
                                                                     3            1.        I am an attorney duly licensed to practice in all the courts of the State
                                                                     4   of California and I am counsel of Greenberg Glusker Fields Claman & Machtinger
                                                                     5   LLP, attorneys of record for Defendant Riot Games, Inc. (“Riot”). The facts set
                                                                     6   forth herein are of my own personal knowledge and if sworn I could and would
                                                                     7   testify competently thereto under oath. I submit this declaration in support of
                                                                     8   Riot’s Ex Parte Application for Extension of Time to Respond to the Second
                                                                     9   Amended Complaint (“SAC”) filed by Plaintiff Marc Wolstenholme
                                                                    10   (“Wolstenholme”).
GREENBERG GLUSKER FIELDS CLAMAN




                                                                    11            2.        On or about February 24, 2025, Wolstenholme filed a SAC through the
                             2049 Century Park East, Suite 2600




                                                                    12   Electronic Document Submission System which resulted in the SAC not being
                               Los Angeles, California 90067
       & MACHTINGER LLP




                                                                    13   entered onto the docket and served on Riot until February 27. The SAC is more
                                                                    14   than 1,200 pages long.
                                                                    15            3.        On February 27, 2025, I emailed Mr. Wolstenholme and requested a
                                                                    16   30-day extension to respond to the SAC given the three-day delay and length of the
                                                                    17   pleading. Mr. Wolstenholme rejected Riot’s request. A true and correct copy of
                                                                    18   my email to Mr. Wolstenholme and Mr. Wolstenholme’s response is attached as
                                                                    19   Exhibit A.
                                                                    20            I declare under penalty of perjury under the laws of the State of California
                                                                    21   that the foregoing is true and correct.
                                                                    22
                                                                    23            Executed this 28th day of February, 2025 at Los Angeles, California.
                                                                    24
                                                                    25
                                                                                                                                /s/ Andrew P. Lux
                                                                    26                                                               Andrew P. Lux
                                                                    27
                                                                    28

                                                                         74677-00029/5436904.1
                                                                                                                          2               DECLARATION OF ANDREW P. LUX
